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        UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

                                                                           ACO-035-E
                                     No. 21-3054

                          UNITED STATES OF AMERICA

                                          v.

                                CREAGHAN HARRY,
                                          Appellant

                            (D.N.J. No. 2-19-cr-00246-001)

Present: KRAUSE, RESTREPO and SMITH, Circuit Judges

      1. Motion by Appellant for Order Vacating the District Court’s Order on Bail
         with Appendix;

      2. Response in Opposition by Appellee to Appellants Motion to Vacate the
         Districts Court’s Order for Bail with Supplemental Appendix;

      3. Motion by Appellee to Accept Overlength Response to Appellant’s Motion for
         Bail.

                                                        Respectfully,
                                                        Clerk/pdb

_________________________________ORDER________________________________
The foregoing Motion by Appellee to Accept Overlength Response to Appellant’s
Motion for Bail is GRANTED. The Motion by Appellant for Order Vacating the District
Court’s Order on Bail is DENIED inasmuch as this court lacks jurisdiction to consider a
nonfinal order. 18 U.S.C. § 3145(c).

                                                        By the Court,

                                                        s/D. Brooks Smith
                                                        Circuit Judge

Dated: February 3, 2022
PDB/cc: All Counsel of Record

                                                   A True Copy:



                                                   Patricia S. Dodszuweit, Clerk
                                                   Certified Order Issued in Lieu of Mandate
